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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

MARYLAND CHAPTER OF THE SIERRA
CLUB, et al.,

                              Plaintiffs,
       v.                                             Civil Action No. DKC 22-2597

FEDERAL HIGHWAY ADMINISTRATION,
et al.,


                              Defendants.

NORTHERN VIRGINIA CITIZENS’
ASSOCIATION,

                              Plaintiff,              Civil Action No. DKC 22-3336
v.

FEDERAL HIGHWAY ADMINISTRATION,
et al.,

                               Defendants.

                   JOINT MOTION TO ENTER BRIEFING SCHEDULE

       The Parties in the above-captioned consolidated cases jointly request that the Court enter

the briefing schedule contained in the Proposed Order submitted with this Motion. In its March

30, 2023 Order, the Court approved the briefing schedule proposed by the Parties in their Joint

Status Report. ECF No. 41. That briefing schedule expressed each deadline as a number of days

after the filing of the Administrative Record Index. ECF No. 40. Defendants filed the Index on

May 3, 2023. ECF No. 42. The Proposed Order would translate the contingent deadlines from

the Joint Status Report into specific dates, accounting for weekends and holidays. Cf. Fed. R.

Civ. P. 6(a)(1)(C). To ensure that the Parties and the Court have clarity on the specific deadlines
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for the summary judgment filings in this matter, the Parties respectfully request that the Court

grant this Motion and enter the briefing schedule in the Proposed Order.



Respectfully Submitted,

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